Case 1:15-cV-01027-L.]V Document 15 Filed 03/17/17 Page 1 of 1

US Department OfJuStice_ PROCESS RECEIPT AND RETURN
Umted States Marshal$ Sewlce ` §§ }.EXF;'.S Dl_;TF{'iC 21 . ee ”]nsz‘rucrions for Se)~i)z`ce ofProcess bv US Marsha!”

   
    

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PLA_anrF _ 0 coURr case MBER
Unrted States ofAmerrca ( / MAR 1 7 2017 \}\ \ lS-CV~lOZ// …5 C`/W/O&‘~]

DEFENDANT TYPEO ROCESS
Patricia Scanlan, et al [/I;::RV C LOEWENGUN (; :;;`§ TER OF SALE

NAME or rNDIVIDUAL, CMM]DMTRM:ET/C To SERVE oR DESCRrPrro‘ .F PROPERTY ro sErzE oR coNDEMN

SERVE County of Cattaraugus- City of Salarnanca 7 1 (r-;;_`;,
A']_" ADDRESS (Street or RFD, Apartment Na.. Cl`ty, State and ZIP Code) ‘ - z "

847 Front Ave., Salainanca, NY 14779 1'~
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDR_ESS BELOW

 

 

 

 

 

Number of process to bill " *»»~
served with this Form 2185 1,.. ijl=

 

Forsyth, Howe, O'Dwyer, Kalb & Murphy, P.C.
Attn: Jennifer Clarl<

One S. Clinton Ave., Suite 1000

Rochester, NY 14640

 

 

   
  
 

Number of parties to be ' _ ~J;;
served in this case '

 

 

Checl< for service 5
on U.S.A.

 

 

 

SPECIAL lNSTRUCTIONS OR OTHER l'NFORMATION THAT WILL ASSIST H". lPEDlTING SERVICE (Inclua'e Business and Alternate Addresses
All Telephone Numbers, and Estimated Times Availablefar Service):

Feld Fold

 

 

Please conduct the foreclosure sale schedule for February 23, ?6l 7 at ll:00 arn.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Sigr_zati.zre fAttorney other Gi)riginator re f esting service on behalf of: § PLAINTH;F TELEPHONE NUMBER DATE
dp M/¢/UL; ij '/“M k / § DE_FENDANT 535-32-5-7515 1/9/17
SP?A:FCE BEL()VE?//FOR USE OF U.S. MA/RSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
I acknowledge receipt _'r`or the total Total Process District o/fz District to Signature of Authorized USMS Deputy or Cl erl< Date(¢&
number of process indicated Origin x Serve `
§§;r@;:”i§r§§§€:i:;;z::; l 55 No.bs’ met M<lt _ l)ll@~all?
l hereby certify and return that l m have personally ser , l:l have legal evidence of service, l:l have executed as shown in "Remarl<s", the process described

on the individual , company, corporation, etc., at the ad _ ss shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

 

E l hereby certify and return that l am unable to lr z the individual, company, corporation, etc. named above (See remarks below)

 

Name and title of individual served (ifnot shown c e) g A person Of Sm»table age and discretion

then residing in defendants usual place
of abode

Address (complete only difj%rent than shown hove) Date Time

 

. @_am
flle tim mm

Signature of U.S. Marshal or Deputy

 

 

 

 

 

Service Fee Total Mileage Char; Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
including endeavor f (Amount of Refund*)

 

 

 

 

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REMARKS: §L:th;, CM;:/r, l tail f ©{M tire dilith net \j<fi” M>@l did

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'_ l. CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2. USMS RECORD
3. NOTICE OF SERVICE
4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
if any amount is owed Please remit promptly payable to U.S. Marshal. Fom USM_23 5
54 ACKNOWLEDGl\/£ENT OF RECEIPT Rev. 11/13

 

 

